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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 AARON SABATER,
                               Plaintiff,
                                                                   17-CV-7135 (JPO)
                     -v-
                                                                         ORDER
 MONTEFIORE MEDICAL CENTER,
 ET AL.,
                     Defendants.


J. PAUL OETKEN, District Judge:

   In light of parties’ scheduling difficulties (Dkt. No. 83), the jury trial scheduled to begin on

December 7, 2020 is hereby adjourned and rescheduled to begin on February 16, 2021. In

addition, the Court hereby sets the following pretrial schedule:

   •   On or before January 15, 2021, the parties shall file a joint pretrial order, any motions in
       limine, proposed jury instructions, and proposed voir dire questions.
   •   On or before January 25, 2021, the parties shall file responses to motions in limine.
   •   A final pretrial conference will take place on February 8, 2021, at 2:00 p.m., in
       Courtroom 706, 40 Foley Square.

       SO ORDERED.

Dated: November 2, 2020
       New York, New York

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                                                         J. PAUL OETKEN
                                                     United States District Judge
